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                  IN THE UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF MISSISSIPPI




IN RE: JAMES EDWARD MCCRIMON                     CHAPTER 13 NO: 17-02095-JAW


           TRUSTEE’S NOTICE OF COMPLETION OF PLAN PAYMENTS


       PLEASE TAKE NOTICE that the above-referenced Debtor(s) have made all plan

payments required to complete the confirmed Chapter 13 plan, filed in the above-styled

and numbered bankruptcy proceeding.


       Respectfully Submitted, this the 7th day of October 2022.




                                            /s/James L. Henley, Jr.
                                            James L. Henley, Jr.
                                            Chapter 13 Trustee
                                            P. O. Box 31980
                                            Jackson, MS 39286
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